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                                    UNITED STATES DISTRICT COURT
 1
                                            DISTRICT OF NEVADA
 2

 3   UNITED STATES OF AMERICA,                              )
 4
                                                            )
                             Plaintiff,                     )         Case No.: 2:16-cr-46-GMN-PAL
 5           vs.                                            )
                                                            )                       ORDER
 6   CLIVEN D. BUNDY et al.,                                )
                                                            )
 7
                             Defendants.                    )
 8                                                          )

 9

10           Pending before the Court is the Motion in Limine, (ECF No. 2513), filed by Defendants
11   Eric Parker (“Parker”) and O. Scott Drexler (“Drexler”) (collectively “Defendants”) to exclude
12   irrelevant and prejudicial evidence. Co-defendant Cliven D. Bundy filed a Motion for Joinder.
13   (ECF No. 2546).1 The Government filed a Response. (ECF No. 2654).2 For the reasons
14   discussed below, the Court DENIES Defendant’s Motion.
15   I.      BACKGROUND
16           On March 2, 2016, a federal grand jury sitting in the District of Nevada returned a
17   Superseding Indictment charging nineteen defendants with sixteen counts related to a
18   confrontation on April 12, 2014, with Bureau of Land Management (“BLM”) Officers in
19   Bunkerville, Nevada. (ECF No. 27).
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     1 On October 23, 2017, Defendants entered guilty pleas in this case. (See Minutes of Proceedings, ECF Nos.
23   2765, 2766). Despite Defendants’ pleas, the Court will address the instant Motion to provide a finding for
     Cliven Bundy who has joined the Motion in Limine.
24
     2 On October 10, 2017, Defendants filed a Reply. (ECF No. 2721). Pursuant to the District of Nevada Local
25   Rules: “Replies [to motions in limine] will be allowed only with leave of the court.” (D. Nev. LR 16-3(a)).
     Defendants have not requested leave to file a Reply. As such, the Court will not consider Defendants’ Reply.


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 1            In the instant Motion, Defendants seek to exclude evidence that they are affiliated with
 2   Idaho III%, and their involvement in Sugar Pine Mine: Operation Gold Rush (“Sugar Pine”)
 3   and White Hope Mine: Operation Big Sky (“White Hope”) (collectively the “operations”).
 4   (Def. Mot. 3:9, ECF No. 2513). The Sugar Pine incident occurred in April 2015, in Oregon,
 5   where Defendants traveled to a mining site on BLM-administered land, “conducted armed
 6   patrols[,] and presented as a show of force in order to prevent federal officers from entering the
 7   property and taking any regulatory efforts with respect to the mine.” (Resp. 3:9–11, ECF No.
 8   2654). The White Hope incident occurred in August 2015, at a mining site in Montana
 9   administered by the United States Forest Service, where Defendants allegedly participated in
10   similar show of force actions. (Resp. 3:12–20).
11            During the retrial of Defendants that commenced on July 10, 2017, the Court admitted
12   this evidence over Defendants’ objection. (See Order, ECF No. 2137) (holding that the
13   evidence of Defendants participation in the Idaho III% and their involvement in the operations
14   are inextricably intertwined with the charged conspiracy under 18 U.S.C. § 372). At the
15   conclusion of the retrial, the jury returned no verdict for Parker and Drexler on Count Five:
16   assault on a federal officer and Count Six: use and carry of a firearm in relation to a crime of
17   violence. (See Jury Verdict, ECF No. 2290). The jury also returned no verdict for Parker on
18   Count Eight: threatening a federal officer and Count Nine: use and carry of a firearm in relation
19   to a crime of violence. (Id.). Both Defendants were acquitted on the remaining counts,
20   including Counts One and Two related to the conspiracy charges. (See Judgment of Acquittal,
21   ECF Nos. 2293, 2294). Trial on the remaining counts is set to commence on October 30, 2017.
22   II.      LEGAL STANDARD
23            A. Motion in Limine
24            In general, “[t]he court must decide any preliminary question about whether . . .
25   evidence is admissible.” Fed. R. Evid. 104(a). In order to satisfy the burden of proof for


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 1   Federal Rule of Evidence (“FRE”) 104(a), a party must show that the requirements for
 2   admissibility are met by a preponderance of the evidence. See Bourjaily v. United States, 483
 3   U.S. 171, 175–76 (1987) (“We have traditionally required that these matters [regarding
 4   admissibility determinations that hinge on preliminary factual questions] be established by a
 5   preponderance of proof.”).
 6          “Although the [FRE] do not explicitly authorize in limine rulings, the practice has
 7   developed pursuant to the district court’s inherent authority to manage the course of trials.”
 8   Luce v. United States, 469 U.S. 38, 41 n.4 (1984) (citing Fed. R. Evid. 103(c)). In limine
 9   rulings “are not binding on the trial judge, and the judge may always change his mind during
10   the course of a trial.” Ohler v. United States, 529 U.S. 753, 758 n.3 (2000); see also Luce, 469
11   U.S. at 41 (noting that in limine rulings are always “subject to change,” especially if the
12   evidence unfolds in an unanticipated manner).
13          B. Applicable Rules of Evidence
14          “Irrelevant evidence is not admissible.” Fed. R. Evid. 402. “Evidence is relevant if: (a)
15   it has any tendency to make a fact more or less probable than it would be without the evidence;
16   and (b) the fact is of consequence in determining the action.” Fed. R. Evid. 401; Velazquez v.
17   City of Long Beach, 793 F.3d 1010, 1028 (9th Cir. 2015).
18          FRE 403 requires the Court to determine whether the probative value of the evidence is
19   substantially outweighed by the danger of unfair prejudice, confusion of the issues, or
20   misleading the jury, or by considerations of undue delay, waste of time, or needless
21   presentation of cumulative evidence. United States v. Arambula-Ruiz, 987 F.2d 599, 602 (9th
22   Cir. 1993); see Fed. R. Evid. 403. “[P]rejudice alone is insufficient; unfair prejudice is
23   required.” United States v. Skillman, 922 F.2d 1370, 1374 (9th Cir. 1990) (citing United States
24   v. Bailleaux, 685 F.2d 1105, 1111 & n. 2 (9th Cir. 1982)). Unfair prejudice “appeals to the
25   jury’s sympathies, arouses its sense of horror, provokes its instinct to punish, or otherwise may


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 1   cause a jury to base its decision on something other than the established propositions in the
 2   case.” Id. (internal quotation marks and citation omitted).
 3          As to FRE 404(b), evidence of crimes, wrongs, or other acts is not admissible to prove
 4   the character of an accused in order to show action in conformity with that character.
 5   Arambula-Ruiz, 987 F.2d at 602; Fed. R. Evid. 404(b)(1). However, this evidence can be
 6   admitted under FRE 404(b) if the evidence is used to show “proof of motive, opportunity,
 7   intent, preparation, plan, knowledge, identity, or absence of mistake or accident.” Fed. R. Evid.
 8   404(b)(2). In order to be properly admitted under FRE 404(b), evidence must satisfy four
 9   requirements: “(1) it must prove a material element of the offense for which the defendant is
10   now charged; (2) in certain cases [where knowledge or intent are at issue], the prior conduct
11   must be similar to the charged conduct; (3) proof of the prior conduct must be based upon
12   sufficient evidence; and (4) the prior conduct must not be too remote in time.” United States v.
13   Arambula-Ruiz, 987 F.2d 599, 602 (9th Cir. 1993).
14          Nevertheless, the FRE 404(b) analysis is not required for “other acts” evidence if such
15   evidence is actually “inextricably intertwined” with the charged offense. United States v.
16   Soliman, 813 F.2d 277, 279 (9th Cir. 1987). Evidence is “inextricably intertwined” when it
17   (1) may constitute a portion of the transaction giving rise to the criminal charge; or (2) may be
18   necessary to allow the prosecution “to offer a coherent and comprehensible story regarding the
19   commission of the crime.” United States v. Vizcarra–Martinez, 66 F.3d 1006, 1012 (9th Cir.
20   1995). Courts look to both temporal proximity and substantive similarly when determining that
21   evidence is inextricably intertwined. See United States v. Rrapi, 175 F.3d 742, 750 (9th Cir.
22   1999) (evidence of prior uncharged burglaries was “inextricably intertwined” with charged
23   crimes where uncharged burglaries were obtained during period of government surveillance,
24   involved similar pattern of conduct, and occurred close in time to charged crimes); see United
25   States v. Berkman, 298 F.3d 788, 794 (9th Cir. 2002) (finding that evidence regarding drug


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 1   mule’s prior drug run was necessary to show why mule was later entrusted with more than $1
 2   million worth of drugs).
 3   III.     DISCUSSION
 4            In the instant Motion, Defendants argue that “[t]he government’s evidence regarding
 5   Idaho III%, Sugar Pine, and White Hope is not relevant, nor inextricably intertwined with the
 6   remaining charged offenses.” (Def. Mot. 3:9–10). Defendants claim that these three pieces of
 7   evidence are not relevant based on their timing in relation to the the charges against them that
 8   allegedly took place on April 14, 2014. (Id. 4:10–13). Specifically, Defendants “were not
 9   members of the Idaho III% until after the events in Bunkerville took place[,]” and “any
10   participation in Sugar Pine or White Hope did not transpire until over a year after the
11   Bunkerville standoff.” (Id. 4:8–10). Defendant avers that “taking into account the significant
12   gap in time between [the evidence and the alleged crimes], they can hardly be said to shed any
13   light on the probability of facts or charges at hand, and thus cannot be of any relevance at all.”
14   (Id. 4:11–13). Defendants alternatively argue that “informing the jury of defendants joining a
15   militia and participating in two separate protests after the fact, is more prejudicial than
16   probative.” (Id. 4:14–15). Additionally, Defendants claim that this evidence is not permissible
17   under FRE 404(b) because the evidence is not “‘prior bad acts’, but rather future acts.” (Id.
18   5:20).
19            The Government responds that Defendants’ “conduct at these other events thus tend to
20   prove [Defendants’] intent, motive, knowledge and the absence of mistake on April 12
21   regardless of whether they acted individually or as part of a conspiracy.” (Resp. 9:17–19, ECF
22   No. 2654). The Government claims that it may present this evidence “under a theory of aiding
23   and abetting or based on direct liability” to prove that Defendants are guilty of threatening and
24   assaulting officers. (Id. 9:7–9). Further, the Government asserts that “[u]nder either theory,
25   evidence that the April 2014 events were part of a greater ‘movement’ that [Defendants] joined


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 1   and pushed forward is relevant, probative and inextricably intertwined with the crimes
 2   charged.” (Id. 9:9–12).
 3          The Court finds that the evidence regarding Idaho III%, Sugar Pine, and White Hope is
 4   relevant because it has a tendency to make the alleged fact that Defendants threatened or
 5   assaulted officers more or less probable than it would be without the evidence. See Velazquez,
 6   793 F.3d at 1028. Further, the Court agrees that evidence concerning Idaho III%, Sugar Pine,
 7   and White Hope tends to prove Defendants’ intent, motive, knowledge and the absence of
 8   mistake on April 12, 2014.
 9          First, the evidence is material of the elements of the counts charged, including the
10   assault and threating charges of Counts Five, Six, Eight, and Nine because the other acts tend to
11   show motive. (See Superseding Indictment ¶¶ 164, 166, 170, 172). Second there are
12   similarities between the other acts and the charged conduct because both include showing force
13   against federal agents to prevent those agents from accomplishing their lawful actions. As
14   alleged in the Superseding Indictment, the Defendants traveled to Nevada with their firearms to
15   prevent the BLM from executing lawful court orders. Similarly, as alleged in the
16   Government’s Notice, both the Sugar Pine and White Hope incidents involved Defendants
17   traveling to another state to prevent federal officers from enforcing federal mining regulations
18   through a “show of force.” (See Gov’t 404(b) Notice 2:13–3:5, ECF No. 1983).
19          Third, the prior conduct is based on sufficient evidence, and this is not a point that
20   Defendants contests. Id. Fourth, the other acts are not too remote in time. “This circuit has not
21   adopted a bright line rule concerning remoteness in time, . . . where the prior acts were similar
22   to those charged, [however,] previous decisions have upheld admission of evidence of acts up
23   to twelve years old.” United States v. Rude, 88 F.3d 1538, 1550 (9th Cir. 1996), as amended on
24   denial of reh'g (Sept. 10, 1996). Defendants claim that more than a year between Defendant’s
25   participation in Sugar Pine or White Hope and the charged conduct. (Def. Mot. 6:22–22). This


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 1   timing however is relatively close in time to the charged conduct, and supports the “movement”
 2   that the Government alleges Defendants joined. (Gov’t. Resp. 9:9–12). Further, the prior
 3   conduct need not occur before the charged conduct. See United States v. Bosby, No. 1:16-CR-
 4   171-LJO-SKO, 2017 WL 3118006, at *3 (E.D. Cal. July 21, 2017) (finding “that the evidence
 5   is admissible under FRE 404(b) because it proves a material point, occurred very shortly after
 6   the charged conduct, and is sufficient to show that Defendant committed the acts charged.”)
 7   (emphasis added). For these reasons, the Government has established a permissible reason for
 8   this evidence of “other acts” to be admitted under FRE 404(b).
 9            Defendants also argue that because militias have a negative connotation the evidence
10   about their involvement with the Idaho III%, Sugar Pine, and White Hope is more prejudicial
11   than probative. (Def. Mot. 4:18–20). The Court disagrees. The probative value of the evidence
12   as motive, intent, or plan is not substantially outweighed by the danger of unfair prejudice. See
13   Arambula-Ruiz, 987 F.2d at 602. Defendant’s alleged involvement may invoke prejudice in the
14   jury, but does not raise to the level of the required “unfair prejudice.” See Skillman, 922 F.2d at
15   1374. Defendants involvement or lack thereof goes to the weight of the evidence, as to be
16   determined by the jury, not to the admissibility of the evidence.
17            Accordingly, the Court DENIES Defendants’ Motion in Limine.
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 1   IV.   CONCLUSION
 2         IT IS HEREBY ORDERED that Defendants’ Motion in Limine, (ECF No. 2513), is
 3   DENIED.
 4         IT IS FURTHER ORDERED that the Motion for Joinder, (ECF No. 2546), is
 5   GRANTED.
 6

 7         DATED this ____
                       24 day of October, 2017.

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 9                                                      __________________________
                                                        Gloria M. Navarro, Chief Judge
10                                                      United States District Court
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